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                       UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF TEXAS
                              AUSTIN DIVISION

 UNITED STATES OF AMERICA,                   §
                                             §
                                             §
 v.                                          §     No. A-22-CR-00123-RP
                                             §
 ISIDRO JARAMILLO,                           §
 Defendant                                   §


                                        ORDER

      In accordance with the Bail Reform Act, 18 U.S.C. § 3142(f), a detention

hearing has been held. I have considered the evidence and proffers presented during

the hearing, the pleadings on file, the recommendation of Pretrial Services, and the

four factors set out in the Bail Reform Act, 18 U.S.C. § 3142(g). In light of all of this,

I find that the record establishes (1) by a preponderance of the evidence that no

combination of conditions will reasonably assure the defendant’s presence as

required, and (2) by clear and convincing evidence that that no condition or

combination of conditions will reasonably assure the safety of any other person and

the community.

      The reasons for my decision include, in particular:

      •   the nature and circumstances of the offense charged, particularly the large
          quantity of methamphetamine seized from Defendant’s car and home (in
          excess of 13 kg);

      •   the weight of the evidence against the person, namely, the presence of
          methamphetamine in the car Defendant was driving, and Defendant’s then
          leading law enforcement and directing them to the location of an additional
          12 kg of methamphetamine in his home;



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      •   the history and characteristics of the person, including his lack of legitimate
          employment and his significant familial ties to Mexico, including two
          children who reside there;

      •   the nature and seriousness of the danger to any person or the community
          that would be posed by the person’s release, particularly, Defendant’s
          possession in his car and home an amount of methamphetamine valued in
          the many tens of thousands of dollars;

      •   finally, the operation of the presumption in 18 U.S.C. § 3142(e)(3) that
          detention is needed because the crime charged is a narcotics offense for
          which the maximum penalty is ten years or more (which, even when
          rebutted, remains as a factor for the Court’s consideration).

This record establishes (1) by a preponderance of the evidence that no combination of

conditions will reasonably assure the defendant’s presence as required, and (2) by

clear and convincing evidence that that no condition or combination of conditions will

reasonably assure the safety of any other person and the community.

                   DIRECTIONS REGARDING DETENTION

      Defendant is committed to the custody of the Attorney General or his

designated representative for confinement in a corrections facility separate, to the

extent practicable, from persons awaiting or serving sentences or being held in

custody pending appeal. Defendant shall be afforded a reasonable opportunity for

private consultation with defense counsel. On order of a court of the United States or

on request of an attorney for the Government, the person in charge of the corrections

facility shall deliver Defendant to the United States Marshal for the purpose of an

appearance in connection with a court proceeding.




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SIGNED June 24, 2022.



                            DUSTIN M. HOWELL
                            UNITED STATES MAGISTRATGE JUDGE




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